
Burton, J.,
delivered the opinion of the court.
The decree of the Chancellor in this case must be *470reversed, and the bill dismissed. An administrator has no right to file a bill to rescind an executory contract for purchase of land entered into by his intestate. That is a matter for the determination of the heirs at law.
Nor do we see any necessity to retain this bill to have an account of the payments made on the land by the intestate William E. Cotham. For aught this record discloses the proof of payments can be as well made in the suits now pending at law, and no discovery or account is asked for. It may be true from the facts imperfectly disclosed in this record that the heirs at law of William E. Cotham could, if they find it to their interest so to do, make out a case entitling them to a rescission of the contract, and if so, the dismissal of the present bill cannot prejudice their rights.
The bill is dismissed and the complainant Caswell Cotham must pay all the costs of this cause, and execution must issue to be levied on his proper goods and chattels, and not of his intestate’s.
